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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

ARYA RISK MANAGEMENT SYSTEMS, §
PVT. LTD. and WINCAB RISK      §
SOLUTION, LLC,                 §
                               §
                               §
            Plaintiff,         §
                               §
v.                             §                    CASE NO. 4:16-cv-03595
                               §
DUFOSSAT CAPITAL PUERTO RICO, §
LLC, DUFOSSAT CAPITAL, LP,     §
DUFOSSAT CAPITAL I, LLC,       §
DUFOSSAT CAPITAL GP, LLC,      §
and ASHTON SONIAT,             §
                               §
                    Defendants §                    JURY TRIAL DEMANDED

                    PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Plaintiffs Arya Risk Management Systems, Pvt. Ltd. and Wincab Risk Solution, LLC file

the instant Second Amended Complaint against Defendants Dufossat Capital Puerto Rico, LLC,

Dufossat Capital, LP, Dufossat Capital I, LLC, Dufossat Capital GP, LLC and Ashton Soniat,

and respectfully show as follows:

                                           PARTIES

       1.     Plaintiff Arya Risk Management Systems, Pvt. Ltd. is an Indian company

registered under the Indian Companies Act and is located in Pune, India.

       2.     Plaintiff Wincab Risk Solution, LLC (“Wincab”) is a New York limited liability

company with its principal place of business in East Quogue, New York. Wincab acts as an

agent for Arya in the United States. All acts or omissions of Wincab were as agent for and on

behalf of Arya. Wincab and Arya will be referred to collectively as “Arya.”




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       3.     Defendant Dufossat Capital Puerto Rico, LLC is a Delaware Limited Liability

Company headquartered in Puerto Rico, but with offices in Houston, Texas. Dufossat engages in

business in Texas and this proceeding arises out of business done by Dufossat in Texas. This

Defendant has appeared and answered herein.

       4.     Defendant Dufossat Capital, LP is a Delaware Limited Partnership with offices in

Texas. This entity engages in business in Texas and this proceeding arises out of business done

by this entity in Texas. This entity may be served by serving tis registered agent for service of

process, Dufossat Capital GP, LLC at 20 Greenway Plaza, Suite 100, Houston, Texas 77046.

       5.     Defendant Dufossat Capital I, LLC is a Delaware Limited Liability Company

with offices in Texas. This entity engages in business in Texas and this proceeding arises out of

business done by this entity in Texas. This entity may be served by serving tis registered agent

for service of process, Steve Wang, at 20 Greenway Plaza, Suite 100, Houston, Texas 77046.

       6.     Defendant Dufossat Capital GP, LLC is a Delaware Limited Liability Company

with offices in Texas. This entity engages in business in Texas and this proceeding arises out of

business done by this entity in Texas. This entity may be served by serving tis registered agent

for service of process, Ashton Soniat, at 20 Greenway Plaza, Suite 100, Houston, Texas 77046.

       7.     Defendant Ashton Soniat (“Soniat”) is an individual resident of Puerto Rico, and

may be served at 8 Dorado Beach, East Dorado, Puerto Rico 00646.            This defendant has

appeared and answered herein.

                                JURISDICTION AND VENUE

       8.     This Court has personal jurisdiction over Defendants because Defendants

conducted business in the State of Texas and the causes of action asserted herein arose from and




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are connected to purposeful acts taken by Defendants in Texas. Defendants’ contacts with Texas

were continuous and systematic.

       9.      This is a claim for copyright infringement arising under the Copyright Act of

1976, 17 U.S.C. §§ 101, et. seq. This Court has subject matter jurisdiction over this claim

pursuant to 28 U.S.C. §1331 and 1338. This Court has pendent, ancillary and supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. Venue is proper in

this Court because the causes of action asserted herein arose in Harris County, Texas.

       10.     All conditions precedent to Plaintiffs’ right to recover the relief sought herein

have occurred or have been performed.

                            FACTS COMMON TO ALL COUNTS

       11.     Defendant Dufossat Capital Puerto Rico, LLC, Defendant Dufossat Capital, LP,

Defendant Dufossat Capital I, LLC and Defendant Dufossat Capital GP, LLC (collectively

referred to as “Dufossat”) are companies engaged generally in commodities, oil, gas,

transmission rights, futures, options, swaps, and electricity trading. Ashton Soniat is Dufossat’s

CEO.

       12.     Prior to the inception of Dufossat, Soniat operated a similar business that broke up

because of fights over money, prompting Soniat to form Dufossat in August 2013. Because

Arya had performed services for Soniat’s previous company, Dufossat similarly contracted with

Arya to provide computer programming, domain, email, and support services (“IT Services”).

       13.     Among its business operations, Dufossat trades in the transmission and movement

of wholesale electricity. For example, PJM Interconnection is a regional electricity transmission

organization that operates a wholesale electricity market for the transmission of electricity in the




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Eastern United States. Among other things, Dufossat trades a financial product called Up To

Congestion (“UTC”) on the PJM Market.

       14.     UTC trading activity requires the analysis of large quantities of market

information, including thousands of energy transmission routes or paths to determine potentially

profitable paths for trading. In order to operate its business, Dufossat needed to utilize computer

programs that use quantitative analysis to filter, analyze, evaluate and make potential energy

trades. Arya and its programmers developed such a computer program, known as the “Trading

Program” or “Trader App” (referred to herein as the “Trading Program”). Arya obtained a

copyright on the Trading Program in February 2014 bearing Registration No. TXu 1-957-517.

       15.     Arya’s development of the Trading Program was not a “work for hire.” There

was no written agreement signed by the parties relating to the development of the Trading

Program. And the individuals who developed the Trading Program were employees of Arya, not

employees of Dufossat. Arya was an independent contractor that provided services to Dufossat.

       16      In November 2015, Dufossat proposed to Arya a written agreement that purported

to classify Arya’s development of the Trading Program as a “work for hire.”             The draft

agreement conceded that Arya had been hired to “develop” the Trading Program. Dufossat’s

attorney, Kyle Carlton, referred to the proposed agreement as the “software development and

trading contract” in an email dated December 3, 2015.

       17.     Arya did not sign the proposed agreement. Instead, Arya’s attorneys drafted a

simple services agreement that clarified that the Trading Program belonged to Arya and not

Dufossat. Ultimately, the parties were unable to agree to the terms of a written agreement, and

none was signed.




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       18.    In or around June 2014, Arya approached Dufossat and offered to provide trading

analysts called “Quants” who could be trained by Arya to use the Trading Program to provide

Dufossat with recommended UTC trades. Thus, Dufossat entered into an agreement with Arya,

whereby Arya agreed to provide recommended UTC trades formulated through quantitative

analysis of market information (“Quant Services”) in exchange for 30% of all profits made by

Dufossat on Arya’s trade recommendations. This was separate and apart from the IT Services

Dufossat had previously hired Arya to perform.

       19.    Between June 2014 and August 2014, the Arya Quants were trained by Arya to

make trade recommendations using the Trading Program and their quantitative analysis. During

this time, the Arya Quants practiced with hypothetical UTC trades until they were proficient at

making profitable UTC trade recommendations. They began submitting recommended trades to

Dufossat in or around the end of August 2014.

       20.    The Arya Quants would not actually make UTC trades. Instead, the Arya Quants

would provide Defendants with UTC trade recommendations by uploading recommended trades

onto Dufossat’s computer system, and Defendants would then make the actual UTC trades

recommended by the Arya Quants. The trades recommended by the Arya Quants were made on

a separate account (the “Arya Book”).

       21.    Unbeknownst to Plaintiffs, in addition to the UTC trades made in the Arya Book

based on the Arya Quants’ recommendations, numerous “shadow trades” were made by

Defendants outside of the Arya Book. Defendants developed and maintained a secret program to

“shadow” (duplicate or follow) the trades recommended by the Arya Quants. These trades were

larger than the trades made in the Arya Book and were kept separate from the Arya Book.




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       22.    Beginning in August 2014, Defendants began making the shadow trades.

Thereafter, millions of dollars in profits began flowing into a secret trading account (the

“Shadow Book”). The shadow trades were concealed from Plaintiffs. Plaintiffs were not paid

the agreed-upon percentage of the profits Defendants derived from these trades. Evidently, the

Shadow Book was in the name of Soniat.

       23.    In 2015, Defendants stopped paying for the Quant Services. Furthermore, in late

2015 and early 2016, Defendants refused to pay amounts owed related to the IT Services as

well. Despite Soniat’s repeated promises and assurances of payment, Defendants have still not

paid the amounts owed for such services.

       24.    Eventually, Arya learned that Defendants had not only been using the Arya

Quants’ recommendations to make UTC trades in the Arya Book, but that Defendants had also

been secretly cutting Arya out of its 30% share of profits by using the Arya Quants’

recommendations to make additional UTC trades in greater quantities in the Shadow Book

without paying Arya its 30% share of such trades. Accordingly, in July 2015, Arya confronted

Soniat about the trades made in the Shadow Book. Thereafter, the parties attempted to negotiate

the terms of a comprehensive, written agreement that would govern their relationship going

forward. They were unable to do so.

       25.    Without warning, on February 9, 2016, Defendants shut Arya out of Dufossat’s

computer systems, making it impossible for Arya to provide services to Dufossat and effectively

ending the relationship between Arya and Dufossat. Upon information and belief, Defendants

have continued to use the Trading Program, both directly and indirectly, to make energy trades

since the termination of the Arya-Dufossat relationship in February 2016. Such continued use




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was and is wrongful and constitutes infringement of Arya’s copyright that has caused Arya

actual damages.

           26.   Arya recently learned that Defendants have hired the former Arya Quants to

provide the same services they had provided to Defendants when they were employed by Arya.

Defendants have made financial payments to the former Arya Quants and have purchased

computer hardware for their use.    Upon information and belief, the former Arya Quants have

used the Trading Program to make energy trades on Dufossat’s behalf and/or energy trade

recommendations to Dufossat since the termination of the Arya-Dufossat relationship in

February 2016 in violation of their non-compete and non-disclosure agreements with Arya.

           27.   The Arya Quants are parties to Employment Agreements and Non-Disclosure

Agreements. The agreements contain a two-year non-compete agreement. They also prohibit

the Arya Quants from disclosing any Arya trade secrets or confidential information. These

agreements are valid and subsisting contracts. As a result of these agreements, the Arya Quants

owe Arya a fiduciary duty. The former Arya Quants’ use of the Trading Program infringes

Arya’s copyright. Defendants have knowledge of the infringing activity and have induced,

caused and materially contributed to the infringing activity by the former Arya Quants. Such use

of the Trading Program by the former Arya Quants is wrongful and constitutes contributory

infringement of Arya’s copyright by Defendants that has caused Arya actual damages.

Defendants’ participation in the Arya Quants’ wrongdoing constitutes tortious interference,

knowing participation in breach of fiduciary duty and a misappropriation and theft of trade

secrets.




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                                     CAUSES OF ACTION

                        FIRST CAUSE OF ACTION: COPYRIGHT
                     INFRINGEMENT (AGAINST ALL DEFENDANTS)

       28.      Arya repeats and re-allege each and every allegation contained in Paragraphs 1

through 27, inclusive, and makes them a part hereof by reference.

       29.      Defendants have willfully infringed and, unless enjoined, likely will continue to

willfully infringe Arya’s copyright in the Trading Program by using the program, copying the

program and reproducing the program. Defendants have no license, actual or implied, to use the

Trading Program and their acts of willful infringement are therefore unlawful

       30.      As a result of Defendants’ unlawful copyright infringement, Arya has been

damaged and Defendants have profited. Arya is entitled to recover its actual damages and any

additional profits of Defendants under 17 U.S.C. §504(a). In lieu of actual damages and profits,

17 U.S.C. §504(b) permits Arya to elect statutory damages up to $150,000 per act of willful

infringement.

       31.      Defendants’ unlawful copyright infringement has caused Arya immediate and

irreparable injury and, unless enjoined, will continue to cause Arya immediate and irreparable

injury for which there is no adequate remedy at law.

                  SECOND CAUSE OF ACTION: CONTRIBUTORY
             COPYRIGHT INFRINGEMENT (AGAINST ALL DEFENDANTS)

       32.      Arya repeats and re-allege each and every allegation contained in Paragraphs 1

through 27, inclusive, and makes them a part hereof by reference.

       33.      The former Arya Quants have willfully infringed and, unless enjoined, likely will

continue to willfully infringe Arya’s copyright in the Trading Program by using the program,

copying the program and reproducing the program. The former Arya Quants have no license,




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actual or implied, to use the Trading Program and their acts of willful infringement are therefore

unlawful.

       34.     Defendants have knowledge of this infringing activity and have induced, caused

and materially contributed to the infringing activity by the former Arya Quants. Such actions by

Defendants are wrongful and constitute contributory infringement of Arya’s copyright by

Defendants that has caused Arya actual damages.

       35.     As a result of Defendants’ unlawful contributory copyright infringement, Arya

has been damaged and Defendants have profited. Arya is entitled to recover its actual damages

and any additional profits of Defendants under 17 U.S.C. §504(a). In lieu of actual damages and

profits, 17 U.S.C. §504(b) permits Arya to elect statutory damages up to $150,000 per act of

willful infringement.

       36.     Defendants’ unlawful contributory copyright infringement has caused Arya

immediate and irreparable injury and, unless enjoined, will continue to cause Arya immediate

and irreparable injury for which there is no adequate remedy at law.

                 THIRD CAUSE OF ACTION: MISAPPROPRIATION OF
                  TRADE SECRETS THROUGH CONTINUED USE OF
                 TRADING PROGRAM (AGAINST ALL DEFENDANTS)

       37.     Arya repeats and re-allege each and every allegation contained in Paragraphs 1

through 27, inclusive, and makes them a part hereof by reference.

       38.     The Trading Program constitutes a trade secret of Arya as that term is defined

under Texas law. Defendants were authorized to use the Trading Program only during the term

of the relationship between Arya and Dufossat. After Dufossat terminated that relationship in

February 2016, Dufossat no longer had any right to use the Trading Program.




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        39.        Despite the foregoing, upon information and belief, Defendants have continued to

use the Trading Program to filter, evaluate and make energy trades. Defendants acquired and

used these trade secrets through the breach of a confidential relationship. Defendants exploited

the trade secrets for their own enrichment and with the intent of depriving Plaintiffs of their

rights. The foregoing conduct constitutes misappropriation of trade secrets under Tex. Civ. Prac.

& Rem. Code § 134A.002(3)(B)(ii)(b) because Defendants knew or had reason to know at the

time they used Arya’s trade secrets without express or implied consent to make trades that their

knowledge of the Arya trade secrets was acquired under circumstances giving rise to a duty to

limit their use.

        40.        Defendants’ unauthorized use and misappropriation of trade secrets has caused

Plaintiffs actual damages. As a result of Defendants’ misappropriation of trade secrets, Plaintiffs

are entitled to, and hereby seek, disgorgement of all profits generated by the unauthorized use of

the trade secrets through Defendants’ execution of trades made after Dufossat terminated its

relationship with Arya in February 2016. Because Defendants’ misappropriation of trade secrets

was willful and malicious, Plaintiffs are entitled to, and hereby seek, an award of exemplary

damages to be determined by the trier of fact under Tex. Civ. Prac. & Rem. Code § 134A.004(b).

Finally, because Defendants’ misappropriation of trade secrets was willful and malicious,

Plaintiffs are entitled to, and hereby seek, an award of attorneys’ fees under Tex. Civ. Prac. &

Rem. Code § 134A.005. Plaintiffs hereby sue for their actual damages, disgorgement of profits

and exemplary damages together with attorneys’ fees and pre and post-judgment interest at the

lawful rate.




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     FOURTH CAUSE OF ACTION: THEFT OF TRADE SECRETS THROUGH
    CONTINUED USE OF TRADING PROGRAM (AGAINST ALL DEFENDANTS)

       41.     Arya repeats and re-allege each and every allegation contained in Paragraphs 1

through 27, inclusive, and makes them a part hereof by reference.

       42.     The Trading Program constituted a trade secret of Arya as that term is defined

under Texas law. Defendants were authorized to use the Trading Program only during the term

of the relationship between Arya and Dufossat. After Dufossat terminated that relationship in

February 2016, Dufossat no longer had any right to use the Trading Program.

       43.     Despite the foregoing, upon information and belief, Dufossat has continued to use

the Trading Program to filter, evaluate and make energy trades. Dufossat has appropriated the

Trading Program without Arya’s consent with the intent to deprive Arya of its property. Upon

information and belief, Defendants have stolen, copied, communicated and/or transmitted the

Trading Program and have used it to filter, evaluate and make energy trades.

       44.     Defendants’ theft of trade secrets has caused Plaintiffs actual damages. As a

result of Defendants’ theft of trade secrets, Plaintiffs are entitled to, and hereby seek, the value of

the trade secrets, which is represented by the profits generated by their theft and unauthorized

use by Defendants through their execution of trades following the termination of the Arya-

Dufossat relationship. Because Defendants’ theft of trade secrets was carried out with actual

malice, Plaintiffs are entitled to, and hereby seek, an award of punitive damages to be determined

by the trier of fact. Plaintiffs hereby sue for their actual damages, the value of the trade secrets

as represented by the profits generated by their use, and punitive damages together with

attorneys’ fees and pre and post-judgment interest at the lawful rate.




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       FIFTH CAUSE OF ACTION: MISAPPROPRIATION OF TRADE SECRETS
        THROUGH HIRING OF ARYA QUANTS (AGAINT ALL DEFENDANTS)

       45.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       46.     Arya has recently learned that Defendants have hired the Arya Quants to provide

the same services they had provided to Defendants when they were employed by Arya.

Defendants have made financial payments to the Arya Quants and have purchased computer

hardware for their use.    Upon information and belief, the Arya Quants are using Arya’s trade

secrets to make trade recommendations to Defendants.

       47.     The foregoing conduct constitutes misappropriation of trade secrets under Tex.

Civ. Prac. & Rem. Code § 134A.002(3)(A) because Defendants knew or had reason to know that

by hiring the Arya Quants to make trade recommendations they were acquiring the Arya trade

secrets by improper means. The foregoing conduct also constitutes misappropriation of trade

secrets under Tex. Civ. Prac. & Rem. Code § 134A.002(3)(B)(i) because Defendants used the

Arya trade secrets without express or implied consent and used improper means to acquire the

trade secrets through the hiring of the Arya Quants. Finally, the foregoing conduct constitutes

misappropriation of trade secrets under Tex. Civ. Prac. & Rem. Code § 134A.002(3)(B)(ii)(c)

because Defendants knew or had reason to know at the time they used and acquired Arya’s trade

secrets without express or implied consent that their knowledge of the Arya trade secrets was

derived from or through a person (the Arya Quants) who owed a duty to Arya to maintain its

secrecy.

       48.     Defendants’ unauthorized use and misappropriation of trade secrets has caused

Plaintiffs actual damages. As a result of Defendants’ misappropriation of trade secrets, Plaintiffs

are entitled to, and hereby seek, disgorgement of all profits generated by the unauthorized use of



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the trade secrets through Defendants’ execution of trades recommended by the Arya Quants

since their hiring by Defendants. Because Defendants’ misappropriation of trade secrets was

willful and malicious, Plaintiffs are entitled to, and hereby seek, an award of exemplary damages

to be determined by the trier of fact under Tex. Civ. Prac. & Rem. Code § 134A.004(b). Finally,

because Defendants’ misappropriation of trade secrets was willful and malicious, Plaintiffs are

entitled to, and hereby seek, an award of attorneys’ fees under Tex. Civ. Prac. & Rem. Code §

134A.005. Plaintiffs hereby sue for their actual damages, disgorgement of profits and exemplary

damages together with attorneys’ fees and pre and post-judgment interest at the lawful rate.

        SIXTH CAUSE OF ACTION: THEFT OF TRADE SECRETS THROUGH
            HIRING OF ARYA QUANTS (AGAINST ALL DEFENDANTS)

       49.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       50.     Arya has recently learned that Defendants have hired the Arya Quants to provide

the same services they had provided to Defendants when they were employed by Arya.

Defendants have made financial payments to the Arya Quants and have purchased computer

hardware for their use.    Upon information and belief, the Arya Quants are using Arya’s trade

secrets to make trade recommendations to Defendants.

       51.     The Trading Program constitutes a trade secret of Arya as that term is defined

under Texas law. Defendants were authorized to use the Trading Program only during the term

of the relationship between Arya and Dufossat. After Dufossat terminated that relationship in

February 2016, Dufossat no longer had any right to use the Trading Program.

       52.     Despite the foregoing, upon information and belief, Dufossat, through the Arya

Quants it hired, has continued to use the Trading Program to filter, evaluate and make energy

trades. Dufossat has appropriated the Trading Program without Arya’s consent with the intent to



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deprive Arya of its property. Upon information and belief, Defendants, through the Arya Quants

they hired, have stolen, copied, communicated and/or transmitted the Trading Program and have

used it to filter, evaluate and make energy trades.

       53.     Defendants’ theft of trade secrets has caused Plaintiffs actual damages. As a

result of Defendants’ theft of trade secrets, Plaintiffs are entitled to, and hereby seek, the value of

the trade secrets, which is represented by the profits generated by their theft and unauthorized

use by Defendants through their execution of trades following the termination of the Arya-

Dufossat relationship. Because Defendants’ theft of trade secrets was carried out with actual

malice, Plaintiffs are entitled to, and hereby seek, an award of punitive damages to be determined

by the trier of fact. Plaintiffs hereby sue for their actual damages, the value of the trade secrets

as represented by the profits generated by their use, and punitive damages together with

attorneys’ fees and pre and post-judgment interest at the lawful rate.

              SEVENTH CAUSE OF ACTION: TORTIOUS INTERFERENCE
                  WITH CONTRACT (AGAINST ALL DEFENDANTS)

       54.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       55.     The Arya Quants are parties to Employment Agreements and Non-Disclosure

Agreements. The agreements contain a two-year non-compete agreement. They also prohibit

the Arya Quants from disclosing any Arya trade secrets or confidential information. These

agreements are valid and subsisting contracts.

       56.     Arya has recently learned that Defendants have hired the Arya Quants to provide

the same services they had provided to Defendants when they were employed by Arya. Upon

information and belief, the Arya Quants are using Arya’s Trading Program to provide these

services to Dufossat. Defendants have made financial payments to the Arya Quants and have



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purchased computer hardware for their use.    Through these actions, Defendants have willfully

and intentionally interfered with the contracts between Arya and the Arya Quants.           Such

interference has proximately caused Plaintiffs to suffer actual damage and loss for which they

now sue together with prejudgment and post-judgment interest. Moreover, because Defendants’

acts of tortious interference were carried out with actual malice, Plaintiffs are entitled to and

hereby seek an award of exemplary damages in an amount to be determined by the trier of fact.

               EIGHTH CAUSE OF ACTION: KNOWING PARTICIPATION
                 IN BREACH OF FIDUCIARY DUTY THROUGH HIRING
                   OF ARYA QUANTS (AGAINST ALL DEFENDANTS)

       57.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       58.     The Arya Quants are parties to Employment Agreements and Non-Disclosure

Agreements. The agreements contain a two-year non-compete agreement. They also prohibit

the Arya Quants from disclosing any Arya trade secrets or confidential information. These

agreements are valid and subsisting contracts. As a result of these Agreements, the Arya Quants

owe fiduciary duties to Arya.

       59.     Arya has recently learned that Defendants have hired the Arya Quants to provide

the same services they had provided to Defendants when they were employed by Arya. Upon

information and belief, the Arya Quants are using Arya’s Trading Program to provide these

services to Dufossat. Defendants have made financial payments to the Arya Quants and have

purchased computer hardware for their use. Through these actions, Defendants have knowingly

participated in the Arya Quants’ breaches of fiduciary duties. Such actions by Defendants have

proximately caused Plaintiffs to suffer actual damage and loss for which they now sue together

with prejudgment and post-judgment interest. Moreover, because Defendants’ acts of knowing




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participation in the Arya Quants’ breaches of fiduciary duties were carried out with actual

malice, Plaintiffs are entitled to and hereby seek an award of exemplary damages in an amount to

be determined by the trier of fact.

                       NINTH CAUSE OF ACTION: BREACH OF
                    CONTRACT-IT SERVICES (AGAINST DUFOSSAT)

       60.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein

       61.     Plaintiffs and Dufossat entered a valid and enforceable agreement whereby

Plaintiffs agreed to provide Dufossat with IT Services. In turn, Dufossat agreed to pay for these

services. Plaintiffs performed their obligations under the contract by providing Defendants with

the IT Services. Dufossat breached the contract by failing to pay the full amount owed for the IT

Services.

       62.     Dufossat’s breach of contract has caused damage to Plaintiffs for which they now

sue together with pre-judgment interest, post-judgment interest, attorneys’ fees and costs of

court. All conditions precedent to Plaintiffs’ claims have occurred or have been satisfied.

                     TENTH CAUSE OF ACTION: BREACH OF
                 CONTRACT-QUANT SERVICES (AGAINST DUFOSSAT)

       63.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       64.     Plaintiffs and Dufossat entered a valid and enforceable agreement whereby

Plaintiffs agreed to provide Dufossat with recommended UTC trades from the Arya Quants. In

turn, Dufossat agreed to pay 30% of all profits made on UTC trades from the Arya Quant’s list

of recommended trades. Plaintiffs performed their obligations under the contract by providing

Dufossat with recommended UTC trades.




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       65.     Dufossat breached the contract by failing to pay the full amount owed for trades

made on the Arya Book. Dufossat similarly breached the contract by making secret trades in the

Shadow Book based on the Arya Quant’s recommended trades and failing to pay Plaintiffs 30%

of the profits from such trades.

       66.     Dufossat’s breach of contract has caused damage to Plaintiffs for which Plaintiffs

now sue together with pre-judgment interest, post-judgment interest, attorneys’ fees and costs of

court. All conditions precedent to Plaintiffs’ claims have occurred or have been satisfied.

                      ELEVENTH CAUSE OF ACTION: PROMISSORY
                           ESTOPPEL (AGAINST DUFOSSAT)

       67.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       68.     Plaintiffs agreed to provide Dufossat with recommended UTC trades from the

Arya Quants. In turn, Dufossat agreed to pay 30% of all profits made on UTC trades from the

Arya Quant’s list of recommended trades. It was foreseeable to Dufossat, and intended by

Dufossat, that Plaintiffs would rely on these promises. Plaintiffs in fact relied on these promises

to their detriment by providing the Quant Services. Dufossat failed to fulfill its promises by

failing to pay the full amount owed for trades made on the Arya Book, by making secret trades in

the Shadow Book based on the Arya Quant’s recommended trades and by failing to pay Arya

30% of the profits from such trades. Dufossat’s failure to fulfill its promises has caused damage

to Plaintiffs for which Plaintiffs now sue together with pre-judgment interest, post-judgment

interest, attorneys’ fees and costs of court. All conditions precedent to Plaintiffs’ claims have

occurred or have been satisfied.

       69.     Plaintiffs agreed to provide Dufossat with IT Services.          In turn, Dufossat

promised to pay for these services. It was foreseeable to Dufossat, and intended by Dufossat,



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that Plaintiffs would rely on these promises. Plaintiffs in fact relied on these promises to its

detriment by providing the IT Services. Dufossat failed to fulfill its promises by failing to pay

the full amount owed for the IT Services. Dufossat’s failure to fulfill their promises has caused

damage to Plaintiffs in excess of the jurisdictional minimum of this Court for which Plaintiffs

now sue together with pre-judgment interest, post-judgment interest, attorneys’ fees and costs of

court. All conditions precedent to Plaintiffs’ claims have occurred or have been satisfied.

                        TWELFTH CAUSE OF ACTION: QUANTUM
                         MERUIT (AGAINST ALL DEFENDANTS)

       70.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       71.     Pleading in the alternative, to the extent there was not a valid and enforceable

contract between Plaintiffs and Defendants, Plaintiffs should recover for quantum meruit. Arya

provided valuable services to Defendants by supplying Defendants with recommended UTC

trades compiled by the Arya Quants. These services were provided specifically for Defendants,

and Defendants accepted these services.         Defendants had reasonable notice that Plaintiffs

expected to be paid for these services. Arya also supplied Defendants with IT Services. These

services were provided specifically for Defendants, and Defendants accepted these services.

Defendants had reasonable notice that Plaintiffs expected to be paid for these services

       72.     As a consequence of the above facts, Plaintiffs are entitled to recover their actual

damages, which are in excess of the jurisdictional limits of this Court, under the doctrine of

quantum meruit, for which they now sue together with attorneys’ fees and pre and post-judgment

interest at the lawful rate. Plaintiffs state that they are entitled to recover the reasonable value of

the Quant Services provided to Arya in an amount not less than 30% of the profit on all trades




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recommended by the Arya Quants, including any Shadow Trades, as well as the reasonable value

of the IT Services.

                       THIRTEENTH CAUSE OF ACTION: UNJUST
                      ENRICHMENT (AGAINST ALL DEFENDANTS)

       73.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       74.     Pleading in the alternative, to the extent there was not a valid and enforceable

contract between Plaintiffs and Defendants, Plaintiffs should recover for unjust enrichment.

Defendants wrongfully secured and/or passively received a benefit by making UTC trades based

on the Arya Quants’ recommendations and by accepting the IT Services. Defendants would be

unjustly enriched if they are not required to pay for the Quant Services and IT Services and it

would be unconscionable for Defendants to retain these benefits. Defendants obtained these

benefits from Arya by fraud, duress, or the taking of undue advantage by secretly making

additional trades in the Shadow Book and by refusing to pay for the IT Services.

       75.     As a consequence of the above facts, Plaintiffs are entitled to recover their actual

damages, which are in excess of the jurisdictional limits of this Court, under the doctrine of

unjust enrichment, for which they now sue together with attorneys’ fees and pre and post-

judgment interest at the lawful rate.      Plaintiffs state that they are entitled to recover the

reasonable value of the Quant Services provided to Arya in an amount not less than 30% of the

profit of all trades recommended by the Arya Quants, including any Shadow Trades, as well as

the reasonable value of the IT Services.




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 FOURTEENTH CAUSE OF ACTION: MISAPPROPRIATION OF TRADE SECRETS
       THROUGH SHADOW TRADES (AGAINST ALL DEFENDANTS)

        76.        Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein

        77.        The Arya Quants’ recommended trades constituted trade secrets as that term is

defined under Texas law. Defendants were authorized to make the recommended trades only in

the account set up for the execution of such trades and only to the extent they intended to pay

Plaintiffs 30% of the profits generated from such trades. Defendants acquired and used the trade

secrets through the breach of a confidential relationship. Defendants used the information to

make secret trades in the Shadow Book based on the Arya Quant’s recommended trades.

Defendants exploited the trade secrets for their own enrichment and with the intent of depriving

Plaintiffs of their right to share in the profits generated from the recommended trades. The

foregoing conduct constitutes misappropriation of trade secrets under Tex. Civ. Prac. & Rem.

Code § 134A.002(3)(B)(ii)(b) because Defendants knew or had reason to know at the time they

used Arya’s trade secrets without express or implied consent to make the shadow trades that their

knowledge of the Arya trade secrets was acquired under circumstances giving rise to a duty to

limit their use.

        78.        Defendants’ unauthorized use and misappropriation of trade secrets caused

Plaintiffs actual damages. As a result of Defendants’ misappropriation of trade secrets, Plaintiffs

are entitled to, and hereby seek, disgorgement of all profits generated by the unauthorized use of

the trade secrets through Defendants’ execution of the shadow trades. Because Defendants’

misappropriation of trade secrets was willful and malicious, Plaintiffs are entitled to, and hereby

seek, an award of exemplary damages to be determined by the trier of fact under Tex. Civ. Prac.

& Rem. Code § 134A.004(b). Finally, because Defendants’ misappropriation of trade secrets



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was willful and malicious, Plaintiffs are entitled to, and hereby seek, an award of attorneys’ fees

under Tex. Civ. Prac. & Rem. Code § 134A.005. Plaintiffs hereby sue for their actual damages,

disgorgement of profits and exemplary damages together with attorneys’ fees and pre and post-

judgment interest at the lawful rate

        FIFTEENTH CAUSE OF ACTION: THEFT OF TRADE SECRETS THROUGH
                 SHADOW TRADES (AGAINST ALL DEFENDANTS)

          79.   Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein

          80.   The Arya Quants’ recommended trades constituted trade secrets as that term is

defined under Texas law. Defendants were authorized to make the recommended trades only in

the account set up for the execution of such trades and only to the extent they intended to pay

Plaintiffs 30% of the profits generated from such trades.          Instead, Defendants used the

information to make secret trades in the Shadow Book based on the Arya Quant’s recommended

trades. In doing so, Defendants copied the trade secrets and transmitted them to third parties

without Plaintiff’s consent. Such actions constitute theft of trade secrets under Texas law.

          81.   Defendants’ theft of trade secrets caused Plaintiffs actual damages. As a result of

Defendants’ theft of trade secrets, Plaintiffs are entitled to, and hereby seek, the value of the

trade secrets, which is represented by the profits generated by their theft and unauthorized use by

Defendants through their execution of the shadow trades. Because Defendants’ theft of trade

secrets was carried out with actual malice, Plaintiffs are entitled to, and hereby seek, an award of

punitive damages to be determined by the trier of fact. Plaintiffs hereby sue for their actual

damages, the value of the trade secrets as represented by the profits generated by their use, and

punitive damages together with attorneys’ fees and pre and post-judgment interest at the lawful

rate.



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      SIXTEENTH CAUSE OF ACTION: FRAUD (AGAINST ALL DEFENDANTS)

       82.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       83.     In or around June 2014, Arya approached Defendants and offered to provide

trading analysts called “Quants” who could be trained by Arya to use the Trading Program to

provide Defendants with recommended UTC trades.           Arya agreed to provide to Dufossat

recommended UTC trades formulated through quantitative analysis of market information.

Soniat agreed that Dufossat would pay Arya 30% of all profits made by Defendants on Arya’s

trade recommendations. Upon information and belief, Soniat’s promises were fraudulent because

Soniat and Dufossat, at the time the promises were made, had no intent of performing the

agreement. Plaintiffs relied on Soniat’s representations to their detriment by training the Arya

Quants and providing valuable services to Defendants.           Such reliance was reasonable,

foreseeable and intended by Defendants.

       84.      Defendants’ acts of fraud have caused Plaintiffs actual damages for which they

now sue together with prejudgment and post-judgment interest. Plaintiffs are also entitled to and

hereby seek an award of exemplary damages in an amount to be determined by the trier of fact.

     SEVENTEENTH CAUSE OF ACTION: NEGLIGENT MISREPRESENTATION
                     (AGAINST ALL DEFENDANTS)

       85.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein.

       86.     In or around June 2014, Arya approached Defendants and offered to provide

trading analysts called “Quants” who could be trained by Arya to use the Trading Program to

provide Defendants with recommended UTC trades.           Arya agreed to provide to Dufossat

recommended UTC trades formulated through quantitative analysis of market information.



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Soniat agreed that Dufossat would pay Arya 30% of all profits made by Defendants on Arya’s

trade recommendations. Soniat’s statements were made for the guidance of others and were

made in the course of Dufossat’s business and in a transaction in which Soniat and Dufossat had

a pecuniary interest. Soniat failed to exercise reasonable care or competence in communicating

such information to Plaintiffs. Plaintiffs relied on Soniat’s representations to their detriment by

training the Arya Quants and providing valuable services to Defendants. Such reliance was

reasonable, foreseeable and intended by Defendants.

       87.      Defendants’ acts of negligent misrepresentation have caused Plaintiffs actual

damages for which they now sue together with prejudgment and post-judgment interest.

Plaintiffs are also entitled to and hereby seek an award of exemplary damages in an amount to be

determined by the trier of fact.

             EIGHTEENTH CAUSE OF ACTION: TORTIOUS INTERFERENCE
                WITH DUFOSSAT-ARYA CONTRACT (AGAINST SONIAT)

       88.     Plaintiffs incorporate by reference the allegations made in paragraphs 1 through

27 above as if fully set forth herein

       89.     As set forth above, there was a contract between Plaintiffs and Dufossat for Arya

to provide Quant Services to Dufossat. Dufossat was to make the trades recommended by Arya

on the Arya Book and was to pay 30% of its profits.

       90.     Soniat directed and arranged for the shadow trades to be made in the Shadow

Book in an attempt to personally enrich himself at the expense of both Plaintiffs and Dufossat.

Given the agreement between Plaintiffs and Dufossat, Soniat’s actions knowingly exposed

Dufossat to substantial legal liability. Moreover, Soniat intended to utilize the profits generated

by the shadow trades for his own personal benefit rather than for the benefit of Dufossat.

Soniat’s actions were so contrary to Dufossat’s best interests that his actions could only have



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been motivated by personal interests. As a result of the foregoing facts, despite the relationship

between Soniat and Dufossat, Soniat was legally capable of tortiously interfering with the

contract between Dufossat and Arya. See, e.g., Holloway v. Skinner, 898 S.W.2d 793 (1995).

        91.     By directing and arranging for the shadow trades to be made in the Shadow Book

with the intent that Plaintiffs would not receive payment for its share of the profits Dufossat

made on the shadow trades, Soniat tortuously interfered with the agreement between Dufossat

and Plaintiffs. Soniat intentionally and tortiously interfered with the agreement by causing a

breach of the agreement’s term and by making Dufossat’s performance of its duties thereunder

impossible. Soniat’s acts of interference were neither privileged nor justified. Moreover, they

were carried out with actual malice as that term is defined by Texas law.

        92.     Soniat’s acts of tortious interference have caused Plaintiffs actual damages in

excess of the jurisdictional minimum of this Court for which they now sue together with

prejudgment and post-judgment interest.            Moreover, because Soniat’s acts of tortious

interference were carried out with actual malice, Plaintiffs are entitled to and hereby seek an

award of exemplary damages in an amount to be determined by the trier of fact.

                                    DEMAND FOR JURY TRIAL

        93.     Pursuant to Rule 28(b) of the Federal Rules of Civil Procedure, Plaintiff demands

a trial by jury of all issues so triable.

                                            ATTORNEYS’ FEES

        94.     Plaintiffs are entitled to recover reasonable attorneys’ fees and costs pursuant to

Texas Civil Practice and Remedies Code sections 38.001 and 134A.005 as well as 17 U.S.C.

§505. All conditions precedent to Plaintiffs’ claim for attorneys’ fees have been satisfied or will

be satisfied before trial.




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                                CONDITIONS PRECEDENT

      95.     All conditions precedent to Plaintiffs’ right to recover the relief sought herein

have occurred or have been performed.

                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that the Court award relief as follows:

       (1)    An Order under 17 U.S.C. §502 that Defendants and their agents, servants,

              employees, consultants, contractors, employees, officers and all other persons

              acting in concert with them or participating with them directly or indirectly be

              preliminarily and permanently enjoined from directly or indirectly infringing, in

              any manner, Arya’s copyright in the Trading Program;

       (2)    Judgment that Defendants be ordered to pay Arya its actual damages due to

              Defendants’ copyright infringement and contributory copyright infringement

              pursuant to 17 U.S.C. §504(b);

       (3)    Judgment that Defendants be ordered to pay Arya statutory damages of no more

              than $150,000 per act of infringement due to Defendants’ willful copyright

              infringement and contributory copyright infringement pursuant to 17 U.S.C.

              §504(c);

       (4)    An Order under 17 U.S.C. §503 that all infringing software be impounded from

              each Defendant;

       (5)    Judgment that Defendants be ordered to pay Plaintiffs their actual damages,

              including all actual and compensatory damages as well as disgorgement of

              Defendants’ ill-gained profits;




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       (6)     Judgment that Defendants be ordered to pay Plaintiff exemplary damages in an

               amount to be determined by the trier of fact under Texas common law and Tex.

               Civ. Prac. & Rem. Code § 134A.004(b);

       (7)     Judgment that Defendants be ordered to pay costs, including a reasonable

               attorneys’ fee;

       (8)     Pre-judgment and post-judgment interest as provided by law; and

       (9)     That Plaintiff have such other and further relief to which it may be justly entitled.

Dated: April 5, 2017                          Respectfully submitted,

                                              /s/Eric D. Pearson
                                              Eric D. Pearson
                                              Texas State Bar No. 15690472/ SD#575279
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                                              ATTORNEYS FOR PLAINTIFF



                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury.

                                              /s/Eric D. Pearson
                                              Eric D. Pearson


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of April, 2017, in accordance with the Federal Rules of
Civil Procedure, a true and correct copy of the foregoing instrument has been duly and properly
served upon all counsel of record by electronic filing.

                                              /s/ Eric D. Pearson
                                              Eric D. Pearson



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